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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT
  UNITED STATES SECURITIES AND EXCHANGE
  COMMISSION,                           Civil No. 3:15cv675 (JBA)
        Plaintiff,
        v.
  IFTIKAR AHMED,                        September 11, 2019
        Defendant, and

  IFTIKAR ALI AHMED SOLE PROP; I-CUBED
  DOMAINS, LLC; SHALINI AHMED; SHALINI
  AHMED 2014 GRANTOR RETAINED ANNUNITY
  TRUST; DIYA HOLDINGS LLC; DIYA REAL
  HOLDINGS, LLC; I.I. 1, a minor child, by and through
  his next friends IFTIKAR and SHALINI AHMED, his
  parents; I.I. 2, a minor child, by and through his next
  friends IFTIKAR and SHALINI AHMED, his parents;
  and I.I. 3, a minor child, by and through his next
  friends IFTIKAR and SHALINI AHMED, his parents,

          Relief Defendants.



      RULING GRANTING RECEIVER’S MOTION FOR AUTHORITY TO EMPLOY
                MITOFSKY, SHAPIRO, NEVILLE & HAZEN, LLP

       Receiver Jed Horwitt moves for “an order authorizing him to retain and employ Mitofsky,

Shapiro, Nevill & Hazen, LLP (‘MSNH’) as counsel to the Receiver for the limited purpose of

representing him in the eviction of the current occupants of Apartment 12F.” (Mot. for Authority

to Employ MSNH [Doc. # 1260] at 1-2.)

       By way of background, two apartments at 530 Park Avenue in New York City are among

the assets of the Receivership Estate. (Appointment Order [Doc. # 1070] at 7, 11.) Mr. Horwitt

proposes to sell both apartments as part of his plan to liquidate assets of the Receivership Estate to
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